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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

    THE TRANSPARENCY PROJECT,           §
                                        §
                  Plaintiff,            §                   CIVIL ACTION No. 4:21-cv-121
                                        §
    v.                                  §
                                        §
    U.S. DEPARTMENT OF JUSTICE, et al., §                   JUDGE SEAN D. JORDAN
                                        §
                  Defendants.           §

                       DEFENDANTS’ FIRST AMENDED ANSWER
                           AND AFFIRMATIVE DEFENSES

        Defendants, the United States Department of Justice (“DOJ”), the National

Security Agency (“NSA”), the Federal Bureau of Investigation (“FBI”), the Central

Intelligence Agency (“CIA”), and the Office of the Director of National Intelligence

(“ODNI”), hereby answer the numbered paragraphs of the First Amended Complaint

[ECF 8], as follows:

                                            I.
                                 JURISDICTION AND VENUE

        1.      This paragraph contains Plaintiff’s conclusions of law regarding

jurisdiction, to which no response is required.

        2.      This paragraph contains Plaintiff’s conclusions of law regarding venue, to

which no response is required. 1



1
 IRS and Texas Comptroller records appear to demonstrate that Plaintiff The Transparency
Project may actually be incorporated in a county outside the Sherman Division, potentially
making venue improper.


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                                                 II.
                                               PARTIES

         3.      Defendants lack knowledge or information sufficient to form a belief as to

 the truth of the allegations in this paragraph.

         4.      Defendant DOJ admits the first and third sentences of this paragraph. The

 second sentence consists of Plaintiff’s legal conclusions, to which no response is

 required.

         5.      Defendant NSA admits the first and third sentences of this paragraph. The

 second sentence consists of Plaintiff’s legal conclusions, to which no response is

 required.

         6.      Defendant FBI admits the first and third sentences of this paragraph. The

 second sentence consists of Plaintiff’s legal conclusions, to which no response is

 required.

         7.      Defendant CIA admits the first and third sentences of this paragraph. The

 second sentence consists of Plaintiff’s legal conclusions, to which no response is

 required.

         8.      Defendant ODNI admits the first and third sentences of this paragraph. The

 second sentence consists of Plaintiff’s legal conclusions, to which no response is

 required.

         9.      Defendant Department of Justice (“DOD”) has not been properly served

 and is not properly before this Court.




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                                            III.
                                     STATEMENT OF FACTS

         10.     Defendants admit that Plaintiff submitted a Freedom of Information Act

 (“FOIA”) request dated July 22, 2020, to multiple entities. Defendants respectfully refer

 the Court to this request for a complete and accurate statement of its contents and deny

 any allegations inconsistent with it. Defendant DOJ avers that the Office of Inspector

 General (“OIG”) acknowledged receipt of this request by letter dated July 24, 2020.

 Defendant DOJ admits that OIG has not yet produced records. Defendant DOJ avers that

 the Office of Information Policy (“OIP”) acknowledged receipt of this request by letter

 dated August 6, 2020. 2 Defendant DOJ admits that OIP has not yet issued a final

 response. Defendant DOJ denies that the Executive Office of United States Attorneys

 (“EOUSA”) received this request. Defendant NSA avers that it issued a final response

 dated August 18, 2020, and an appeal response letter dated February 16, 2021. Defendant

 DOJ admits that the National Security Division (“NSD”) received this request. Defendant

 FBI admits that it received this request. Defendant CIA admits that it received this

 request. Defendant ODNI avers that it acknowledged receipt of this request by letter

 dated August 3, 2020.

         11. Defendants admit that Plaintiff submitted a FOIA request dated July 22, 2020,

 to multiple entities. Defendants respectfully refer the Court to this request for a complete



 2
   OIP’s Initial Request Staff is responsible for processing FOIA requests for records within OIP and from
 six senior leadership offices of the Department of Justice, specifically the Offices of the Attorney General
 (OAG), the Deputy Attorney General (ODAG), and the Associate Attorney General (OASG), and the
 Offices of Legislative Affairs (OLA), Legal Policy (OLP), and Public Affairs (PAO). OIP is also
 responsible for processing requests for records of John Durham’s Office of Special Counsel (SCO).


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 and accurate statement of its contents and deny any allegations inconsistent with it.

 Defendant DOJ avers OIG acknowledged receipt of this request by letter dated July 24,

 2020. Defendant DOJ avers that OIP acknowledged receipt of this request by letter dated

 August 12, 2020. Defendant DOJ admits that OIP has not yet issued a final response.

 Defendant NSA admits that NSA has not yet produced records. Defendant DOJ admits

 that NSD received this request. Defendant FBI admits that it received this request.

 Defendant CIA admits that it received this request. Defendant ODNI avers that it

 acknowledged receipt of this request by letter dated August 3, 2020.

         12.     Defendants admit that Plaintiff submitted a FOIA request dated July 24,

 2020, to multiple entities. Defendants respectfully refer the Court to this request for a

 complete and accurate statement of its contents and deny any allegations inconsistent

 with it. Defendant DOJ avers that OIG acknowledged receipt of this request by letter

 dated July 28, 2020. Defendant DOJ admits OIG has not yet produced records. Defendant

 DOJ avers that OIP acknowledged receipt of this request by letter dated August 14, 2020.

 Defendant DOJ avers that OIP issued a final response on February 9, 2021. Defendant

 DOJ admits that EOUSA received this request and has not yet produced documents.

         13.     Defendants admit that Plaintiff submitted a FOIA request dated August 25,

 2020, to multiple entities. Defendants respectfully refer the Court to this request for a

 complete and accurate statement of its contents and deny any allegations inconsistent

 with it. Defendant DOJ avers that OIG acknowledged receipt of this request by letter

 dated August 26, 2020. Defendant DOJ admits that OIG has not yet produced records.

 Defendant DOJ denies that OIP received the request. Defendant DOJ denies that EOUSA


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 received the request, as EOUSA is not one of the components listed on the request.

 Defendant NSA admits that it received the request. Defendant DOJ admits that NSD

 received this request. Defendant FBI admits that it received this request. Defendant CIA

 admits that it received this request. Defendant ODNI admits that it received this request.

         14.     Defendants admit that Plaintiff submitted a renewed FOIA request dated

 August 26, 2020, to multiple entities. Defendants respectfully refer the Court to this

 request for a complete and accurate statement of its contents and deny any allegations

 inconsistent with it. Defendant DOJ admits that this is a renewal of an earlier request and

 that OIG has not yet produced records. Defendant DOJ avers that OIP issued a final

 response on September 16, 2020, informing Plaintiff that OIP was administratively

 closing this request as duplicative of the request described in Paragraph 9 of the

 Complaint. Defendant DOJ avers that EOUSA issued a final response on November 10,

 2020. Defendant NSA avers that it issued a response letter dated September 1, 2020.

 Defendant DOJ admits that NSD received this request. Defendant FBI admits that it

 received this request. Defendant CIA admits that it received this request. Defendant

 ODNI is unable to admit or deny whether it received this request.

         15.     Defendant ODNI admits that Plaintiff submitted a renewed FOIA request

 dated November 25, 2020, to ODNI. Defendant ODNI respectfully refers the Court to

 this request for a complete and accurate statement of its contents and denies any

 allegations inconsistent with it. Defendant ODNI admits that it has received this request.

         16.     Regarding the first sentence, the referenced document speaks for itself, and

 Defendants refer the Court to the document for a full and accurate statement of its content


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 and deny any allegations inconsistent with it. Defendants admit that Plaintiff submitted a

 FOIA request dated January 25, 2021, to multiple entities. Defendants respectfully refer

 the Court to this request for a complete and accurate statement of its contents and deny

 any allegations inconsistent with it. Defendant NSA admits that it issued a final response

 on March 5, 2021, and Plaintiff appealed the response on March 22, 2021. Defendant FBI

 admits it received this request. Defendant CIA admits that it received this request.

 Defendant ODNI admits that it received this request.

         17.     Regarding the first sentence, the referenced video speaks for itself, and

 Defendants refer the Court to the video for its full and accurate content and deny any

 allegations inconsistent with it. Defendants admit that Plaintiff submitted a FOIA request

 dated January 26, 2021, to multiple entities. Defendants respectfully refer the Court to

 this request for a complete and accurate statement of its contents and deny any allegations

 inconsistent with it. Defendant FBI admits it received this request. Defendant DOJ admits

 that NSD received this request. Defendant DOJ avers that OIP acknowledged receipt of

 this request by letter dated February 11, 2021. Defendant DOJ admits that OIP has not

 yet issued a final response. Defendant DOJ avers that OIG acknowledged receipt of this

 request by letter dated January 27, 2021. Defendant DOJ admits that OIG has not yet

 produced records. Defendant DOJ admits that EOUSA received this request and that no

 responsive documents have been produced. Defendant DOJ admits that the Criminal

 Division (CRM) received this request and avers that this request has been closed.

         18.     Defendants admit that Plaintiff submitted a FOIA request dated February 2,

 2021, to multiple entities. Defendants respectfully refer the Court to this request for a


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 complete and accurate statement of its contents and deny any allegations inconsistent

 with it. Defendant FBI admits it received this request. Defendant DOJ avers that OIG

 acknowledged receipt of this request by letter dated February 4, 2021. Defendant DOJ

 admits that OIG has not yet produced records. Defendant DOJ admits that EOUSA

 received this request and that no responsive documents have been produced.

         19.     Defendants admit that Plaintiff submitted a FOIA request dated February

 18, 2021, to multiple entities. Defendants respectfully refer the Court to this request for a

 complete and accurate statement of its contents and deny any allegations inconsistent

 with it. Defendant NSA admits it received this request and that no responsive documents

 have been provided. Defendant FBI admits it received this request. Defendant CIA

 admits that it received this request. Defendant DOJ admits that NSD received this

 request. Defendant DOJ avers that OIP acknowledged receipt of this request by letter

 dated February 16, 2021. Defendant DOJ admits that OIP has not yet issued a final

 response. Defendant DOJ avers that OIG acknowledged receipt of this request by letter

 dated February 18, 2021. Defendant DOJ admits that OIG has not yet produced records.

 Defendant DOJ admits that EOUSA received this request and that no responsive

 documents have been produced. Defendant DOJ avers that the Civil Rights Division

 (CRT) issued a determination letter to the requestor by letter dated March 19, 2021,

 which was upheld on appeal to OIP by letter dated March 30, 2021. Defendant ODNI

 admits that it received this request.




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                                                    COUNT I


         20.        Defendants incorporate by reference their responses to ¶¶ 1 through 19 as

 though set forth in full herein.

         21.        This paragraph sets forth conclusions of law to which no response is

 necessary. To the extent a response is deemed necessary, Defendants deny Paragraph 15

 in its entirety.

                                     REQUEST FOR RELIEF

         22.        This paragraph sets forth Plaintiff’s request for relief to which no response

 is necessary. To the extent that any portion of this paragraph is deemed to contain an

 allegation of fact or a response is deemed necessary, Defendants deny that Plaintiff is

 entitled to any relief whatsoever.

                                   AFFIRMATIVE DEFENSES

         1.         Plaintiff is not entitled to compel the production of records or information

 exempt from disclosure under FOIA. See 5 U.S.C. § 552(b).

         2.         Plaintiff is not entitled to remedies beyond what is provided for in the

 FOIA. See 5. U.S.C. § 552.

         3.         Plaintiff has failed to properly exhaust administrative remedies.

         4.         Venue is improper.



                                                  Respectfully submitted,

                                                  NICHOLAS J. GANJEI


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                                                  ACTING UNITED STATES ATTORNEY
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on July 9, 2021, a true and correct copy of the foregoing

 document was filed electronically with the court and has been sent to counsel of record

 via the court’s electronic filing system.

                                                  /s/ Andrea L. Parker_________
                                                  ANDREA L. PARKER
                                                  Assistant United States Attorney




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